Case 2:05-cr-20047-.]DB Document 36 Filed 09/01/05 Page 1 of 2 Page|D 30

IN THE UNITEI) sTATES DISTRICT COURT FOR THE F"`ED BY §§ o.c.
wEsTERN DISTRICT oF TENNESSEE 05

AT MEMPHIS ` SEP "l PH 3: 55

UNITED STATES 0F AMERICA,

Plaintiff,

 

Case. No.; 05-20047-13 /
05_20263->4'

CHARLES GRUBB,

Defendant.

 

ORDER GRANTING MOTION TO WAIVE APPEARANCE OF
DEFENDANT AT REPORT DATE

 

This matter came to be heard by The Honorable Judge J. Daniel Breen and for

good cause shown is granted.

 

]@norable Judge J. Daniel Breen

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Date " v

  

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Honorable J. Breen
US DISTRICT COURT

